3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 1 of 10
3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 2 of 10
3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 3 of 10
3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 4 of 10
3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 5 of 10
3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 6 of 10
3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 7 of 10
3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 8 of 10
3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 9 of 10
3:21-cv-03548-JFA   Date Filed 10/29/21   Entry Number 1-1   Page 10 of 10
